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                        Exhibit 12




                                  Exhibit 12
        Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 2 of 37 Page ID #:611




338 Barber Lane. Milpitas, California 95035
99 Ranch #1766
•
•




                                                                                       APril6th-7th
#1
                 •   99 Ranch #1768
    #2           •   10983 North Wolfe Road, Cupertino, California 95014
                                                                           Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 3 of 37 Page ID #:612




April 6th- 7th
       Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 4 of 37 Page ID #:613




250 Skyline Plaza, Daly City, CA 94015
99 Ranch #1769
•
•




                                                                                      April 6th- 7th
#3
       Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 5 of 37 Page ID #:614




4220 Florin Rd. Sacramento, CA, 95823
99 Ranch #1776
•
•




                                                                                      April 13th- 14th
#4
      Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 6 of 37 Page ID #:615




3288 Pierce St, Richmond, CA, 94804
99 Ranch #1781
•
•




                                                                                     April 13th -14th
#5
                 •   99 Ranch #1805
    #6           •   19725 Colima Rd, Rowland Heights, CA, 91748
                                                                   Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 7 of 37 Page ID #:616




Total: April 13th-14th
      Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 8 of 37 Page ID #:617




3288 Pierce St, Richmond, CA, 94804
99 Ranch #1793
•
•




                                                                                     April 20th- 21st
#7
        Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 9 of 37 Page ID #:618




19725 Colima Rd, Rowland Heights, CA, 91748
99 Ranch #1805
•
•




                                                                                       April 20th – 21st
#8
                 •   99 Ranch #1003
    #9           •   1015 S. Nogales St. Rowland Heights, CA, 91748
                                                                      Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 10 of 37 Page ID #:619




Total: April 20th – 21st
                   •   Greatwall- Rowland Heights
  #10              •   18745 Colima Rd, Rowland Heights, 91748
                                                                 Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 11 of 37 Page ID #:620




April 19th -21st
                   •   Greatwall- Rowland Heights
  #11              •   18745 Colima Rd, Rowland Heights, 91748
                                                                 Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 12 of 37 Page ID #:621




April 19th -21st
    Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 13 of 37 Page ID #:622




8815 Valley Blvd, Rosemead, CA, 91770
Greatwall- Valley
•
•




                                                                                   April 19th -21st
#12
    Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 14 of 37 Page ID #:623




8815 Valley Blvd, Rosemead, CA, 91770
Greatwall- Valley
•
•




                                                                                   April 26th – 28th
#13
    Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 15 of 37 Page ID #:624




8510 Garvey Ave, Rosemead, CA, 91770
Greatwall- Garvey
•
•




                                                                                   April 19th – 21st
#14
    Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 16 of 37 Page ID #:625




8510 Garvey Ave, Rosemead, CA, 91770
Greatwall- Garvey
•
•




                                                                                   April 26th – 28th
#15
               •    Greatwall- Monterey Park
  #16          •    421 N Atlantic Blvd, Monterey Park, CA, 91754
                                                                    Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 17 of 37 Page ID #:626




April 19th – 21st
              •     Greatwall- Monterey Park
  #17         •     421 N Atlantic Blvd, Monterey Park, CA, 91754
                                                                    Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 18 of 37 Page ID #:627




April 26th – 28th
    Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 19 of 37 Page ID #:628




1457 Nogales St. Rowland Heights, CA, 91748
Tak Shing Hong #1457
•
•




                                                                                   May 4th- 5th
#18
    Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 20 of 37 Page ID #:629




17520 Castleton St. Industry, CA, 91748
Tak Shing Hong #17520
•
•




                                                                                   May 4th- 5th
#19
               •   Great Wall Supermarket (Houston)
  #20          •   9889 Bellaire Blvd, #B, Houston, TX, 77036
                                                                Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 21 of 37 Page ID #:630




May 4th- 5th
    Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 22 of 37 Page ID #:631




9280 Bellaire Blvd, Houston, TX, 77036
Jusgo Supermarket
•
•




                                                                                   May 4th- 5th
#21
  Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 23 of 37 Page ID #:632




9280 Bellaire Blvd, Houston, TX, 77036
Jusgo Supermarket




                                                                                 Total: May 4th – 5th
•
•
#22
               •   Good Fortune Supermarket(Dallas)
  #23          •   400 N Greenville Ave, Richardson, TX, 75081
                                                                 Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 24 of 37 Page ID #:633




May 4th- 5th
              •   Great Wall Supermarket (Houston)
  #24         •   9889 Bellaire Blvd, #B, Houston, TX, 77036
                                                               Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 25 of 37 Page ID #:634




May 18th – 19th
              •   Great Wall Supermarket (Houston)
  #25         •   9889 Bellaire Blvd, #B, Houston, TX, 77036
                                                               Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 26 of 37 Page ID #:635




May 25th – 26th
    Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 27 of 37 Page ID #:636




4024 College Point Blvd, Flushing, NY 113545
Skyfoods
•
•




                                                                                   May 25th- 26th
#26
   Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 28 of 37 Page ID #:637




131 W. Spring Creed Pkwy, Plano, TX
99 Ranch #1102
•
•




                                                                                  June 1st- 2nd
#27
                •   99 Ranch #1105
  #28           •   2532 Old Denton Road, Suit 100, Carrollton, TX, 75006
                                                                            Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 29 of 37 Page ID #:638




June 1st- 2nd
    Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 30 of 37 Page ID #:639




9180 Bellaire Blvd, Houston, TX, 77036
Welcome Food Center
•
•




                                                                                   June 1st- 2nd
#29
  Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 31 of 37 Page ID #:640


Good Fortune Supermarket
New York
•
•
#30




                                                                                June 1st- 2nd
   Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 32 of 37 Page ID #:641




157 Hester Ave, New York, NY
Hong Kong Supermarket
•
•




                                                                                  June 8th – 9th
#31
   Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 33 of 37 Page ID #:642




6301 8th Ave, Brooklyn, NY, 11220
Fei Long Market
•
•




                                                                                 June 8th – 9th
#32
   Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 34 of 37 Page ID #:643




8121 New Utruch Ave, Brooklyn, NY
J Mart
•
•




                                                                                June 15th – 16th
#33
   Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 35 of 37 Page ID #:644




40-21 Main St, Flushing, NY
J Mart
•
•




                                                                                June 22nd- 23rd
#34
   Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 36 of 37 Page ID #:645




371 N Central Ave, Hartsdale, NY
H-Mart Hartsdale
•
•




                                                                               June 22nd- 23rd
#35
   Case 2:19-cv-08917-SB-KS Document 32-14 Filed 02/11/21 Page 37 of 37 Page ID #:646




1789 Central Park Ave, Yonkers, NY
H-mart Yonkers
•
•




                                                                                June 29th- 30th
#36
